                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

MO-KAN IRON WORKERS                             )
PENSION FUND, et al,                            )
                                                )
               Plaintiff,                       )
                                                    Case No. 18-CV-00482-GAF
                                                )
       v.                                       )
                                                )
FULSOM BROTHERS, INC.                           )
                                                )
               Defendant.                       )

      DEFENDANT’S MOTION TO SET ASIDE DEFAULT JUDGMENT WITH
                     SUGGESTIONS IN SUPPORT

       COMES NOW defendant Fulsom Brothers, Inc., (“Defendant”) by and through

undersigned counsel, pursuant to Rules 55 and 60 of the Federal Rules of Civil Procedure and

moves this Court for an order setting aside the Clerk’s Entry of Default (Doc. 9), Default

Judgment (Doc. 12) and the Judgment in Civil Action (Doc. 13). In support of this Motion,

Defendant states as follows:


 I.    STATEMENT OF TIMELINE AND RELEVANT FACTS

       1.      This matter was filed on June 21, 2018. [See Complaint (Doc. 1)]

       2.      Defendant was allegedly served on July 6, 2018. [Return of Service (Doc. 3)].

       3.      On July 31, 2018, Plaintiffs filed their Motion for Default Judgment (Doc. 4) and

their Motion for Entry of Default (Doc. 6).

       4.      On August 28, 2018, this Court issued an Order to Show Cause (Doc. 10) as to

why default judgment should not be entered. The Court set a deadline of September 5, 2018, for

Defendant to show such cause.




         Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 1 of 12
          5.    On August 24, 2018, then-counsel for Defendant, Chase Miller, faxed Plaintiffs’

counsel, Bradley Jay Sollars, a letter explaining that Defendant would be willing to engage in

good-faith settlement negotiations if the litigation was stayed. [Exhibit 1: Affidavit of Chase L.

Miller]

          6.    On August 27, 2018, Mr. Sollars called Mr. Miller. During that conversation Mr.

Miller reiterated that Defendant’s willingness to enter into settlement negotiations was

contingent upon the present litigation being stayed. [Exhibit 1: Affidavit of Chase L. Miller]

          7.    From that point forward, Mr. Sollars and Mr. Miller began engaging in settlement

negotiations, with Mr. Sollars providing additional information so Mr. Miller could formulate an

offer. [Exhibit 1: Affidavit of Chase L. Miller]

          8.    Because Mr. Miller had made it clear on more than one occasion that Defendant’s

willingness to engage in settlement negotiations was contingent upon staying of the pending

litigation, Mr. Chase understood that Mr. Sollars had accepted Mr. Miller’s offer because he

continued to engage in settlement negotiations. [Exhibit 1: Affidavit of Chase L. Miller]

          9.    Importantly, Mr. Miller had explicitly informed Mr. Sollars that if the litigation

were not stayed, Defendant would have to obtain different counsel. [Exhibit 1: Affidavit of

Chase L. Miller]

          10.   On August 28, 2018, Mr. Sollars sent Mr. Miller a letter stating when this suit was

filed, when the summons was served, and that the Court had set a show cause deadline of

September 5, 2018. [Exhibit 2: August 28, 2018 letter from Bradley Sollars]

          11.   On August 30, 2018, Mr. Miller emailed Mr. Sollars to provide an update on his

progress in reviewing the information Mr. Sollars had provided. In the communication, Mr.

Chase again reiterated his understanding that Mr. Sollars had agreed to stay the pending




                                       2
           Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 2 of 12
litigation and requested assurance that the litigation had been stayed. [Exhibit 1: Affidavit of

Chase L. Miller]

           12.      Defendant retained undersigned counsel on September 19, 2018. Since that time,

undersigned counsel has been in communication with Plaintiff’s counsel to discuss this matter,

and another matter also pending in the Western District of Missouri, Case No. 18-CV-580-

NKL. 1 Further, undersigned counsel has been gathering and analyzing information in order to be

able to prepare this Motion.


    II.    SUGGESTIONS IN SUPPORT

           Rule 55(c) permits this Court to “set aside an entry of default for good cause, and it may

set aside a final default judgment under Rule 60(b).” Fed. R. Civ. P. 55(c). Further, Rule 60(b)

allows this Court to relieve a party from a final judgment for mistake, inadvertence, surprise,

excusable neglect, fraud, misrepresentation, or misconduct by an opposing party. Fed R. Civ. P.

60(b)(1), (3). A motion under Rule 60 need only be made in a “reasonable time.” Fed. R. Civ.

P. 60(c).

            Generally, Courts look to three factors in deciding whether good cause or excusable

neglect exist sufficient to set aside a default order or judgment: (1) whether the conduct of the

defaulting party was blameworthy or culpable; (2) whether Defendant has a possibly meritorious

defense; and (3) whether set-aside would prejudice the plaintiff. Grant v. City of Blytheville,

Arkansas, 841 F.3d 767, 772 (8th Cir. 2016); see also J & J Sports Productions, Inc., v. Brewster

“2” Café, LLC, Case No. 11-CV-00690-SWW; 2013 WL 6150708 at *3 (E.D. Ark, November

22, 2013). Here, Defendant’s conduct was all taken in good faith and was justifiable. Further,




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    Undersigned counsel was working with Plaintiff’s counsel to avoid entry of default judgment in that matter.


                                         3
             Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 3 of 12
Defendant has multiple meritorious defenses and Plaintiff will suffer no prejudice as this matter

has not been significantly delayed.

       1. Defendant’s Default Was Not the Result of Culpable Conduct, but a Good Faith
          Belief the Matter Was Stayed During Settlement Negotiations.

       Here, good cause exists to set aside the judgment and, to the extent Defendant or

Defendant’s prior counsel was at fault for not filing an answer or other responsive pleading, such

failure was due to mistake or excusable neglect. There is simply no evidence establishing that

Defendant’s failure to file an answer or show cause was intentional, willful, or in disregard for

the rules of this Court. Further, there is nothing to suggest that it was the fault of Defendant, but

rather a misunderstanding between Defendant’s and Plaintiffs’ counsel.

        The Affidavit of Defendant’s former attorney, Mr. Miller, establishes that he reasonably

believed the parties were engaging in good faith settlement negotiations and that this litigation

had been stayed. [Exhibit 1] Specifically, Defendant’s prior counsel informed Plaintiff’s counsel

that he only had authority to negotiate if the matters were stayed. [Exhibit 1] Only then did

Plaintiff’s counsel provide requested documentation to allow Defendant to begin to prepare a

settlement proposal. [Exhibits 1, 2]

       These actions reasonably lead Defendant’s prior attorney to conclude that Plaintiff’s

counsel had accepted Defendant’s condition that the matters be stayed in order to begin

negotiations. Other courts have recognized that a party’s “reasonable belief that settlement

negotiations would resolve a dispute without resort to a court is grounds to set aside a default.” J

& J Sports Productions, Inc., Case No. 11-CV-00690-SWW; 2013 WL 6150708 at *3 (E.D. Ark,

November 22, 2013) (citing Whitman v. U.S. Lines, Inc., 88 F.R.D. 528 (E.D. Tx. 1980)

(vacating entry of default where default was result of defendant’s good faith belief that

settlement negotiations were ongoing ….”)).



                                     4
         Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 4 of 12
       To the extent Defendant’s prior attorney misunderstood the status of the litigation from

Plaintiffs’ counsel, such misunderstanding constitutes a mistake, excusable neglect, or

inadvertence for which relief from the Default Judgment is warranted.

       2. Defendant Has Numerous Meritorious Defenses to Plaintiff’s Claims.

       Defendant has multiple meritorious defenses that would result in an outcome contrary to

the result achieved by default judgment. “Whether a meritorious defense exists is determined by

examining whether the proffered evidence would permit a finding for the defaulting party.”

Stephenson v. E-Batrawi, 524 F.3d 907, 914 (8th Cir. 2008) (internal citations and quotations

omitted). In such a situation, “[t]he underlying concern is whether there is some possibility that

the outcome after a full trial will be contrary to the result achieved by the default.” Id. (internal

citations, quotations, and ellipsis omitted).

       Given the urgency with which the undersigned counsel has sought to file this Motion, the

undersigned has undertaken a significant, yet limited, review of the presently-known information

to address the meritorious defenses to be presented. The defenses presented in this Motion

certainly do not entail the entirety of the defense that may ultimately be presented at trial, but

they demonstrate that the defenses are likely to result in a finding contrary to the default

judgment.


               The CBA under Which Plaintiffs Sue Requires All Disputes Be Resolved
               through Binding Arbitration, Depriving this Court of the Ability to
               Determine and Assess Damages.

       According to the Complaint, Defendant’s alleged liability results from a collective

bargaining agreement between the Builders Association of Missouri and the International

Association of Bridge, Structural and Ornamental Iron Workers, Local Union No. 10, AFL-CIO




                                     5
         Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 5 of 12
(hereinafter the “CBA”) 2. However, the terms of the CBA—which Plaintiffs now seek to

enforce in this Court—states that “[t]he Union, the Association, and all other parties to [the

CBA] shall resolve all disputes arising under [the CBA] by use of this grievance and arbitration

procedure.” [Exhibit 3 at p. 15] The CBA further provides that any “arbitration decision shall be

final and binding.” [Id.]

           Importantly, the appropriate procedure when an arbitration provision applies is “for the

district court to stay or dismiss the case based on a Rule 12(b)(6) or Rule 56 motion pending

arbitration.” Seldin v. Seldin, 879 F.3d 269, 272 (8th Cir. 2018). Under the Federal Arbitration

Act, an agreement to arbitrate a controversy is valid, enforceable and irrevocable. 9 U.S.C. § 2. If

the opposing party refuses to arbitrate, the Court must grant the application to compel arbitration

upon the moving party showing an agreement to arbitrate. 9 U.S.C. §§ 2-3.

           Here, there is no doubt that the arbitration agreement exists or applies. The very claims

that Plaintiffs assert stem from the alleged obligations under the CBA, which includes the

requirement that “all disputes arising under [the CBA]” be resolved through binding arbitration.

Despite knowing an arbitration provision existed, Plaintiffs breached the very agreement they

now seek to enforce by failing to submit the matter to arbitration. Notably, by failing to submit

the dispute to an arbitrator within time period outlined in the CBA, Plaintiffs are barred from

recovery because the arbitration provision explicitly states that “time is of the essence.” [Exhibit

3 at p. 15, (“If the dispute cannot be resolved … it shall be referred for a decision to one of three

… arbitrators within seven (7) days”]

           Here, because a written arbitration agreement exists and encompasses Plaintiff’s claims,

Defendant has a strong likelihood of succeeding on a Rule 12(b)(6) motion to either dismiss the



2
    A copy of the CBA is attached hereto as Exhibit 3.


                                         6
             Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 6 of 12
case or to have it stayed pending arbitration. Further, because Plaintiffs failed to timely submit

the dispute to an arbitrator, they have arguably waived the claims made in this suit.


                    A Portion of Plaintiffs’ Claims Are Barred by the Statute of Limitations.

           Plaintiffs’ Complaint alleges that the damage suffered is calculated based on work

performed for the period of January 1, 2012 through December 31, 2013—a period beginning

nearly six and a half years prior to the filing of this lawsuit 3. [See Complaint (Doc. 1) at Count I

¶¶ 11, 14, 15, B, C, Count II ¶¶ 3, B, Count III at ¶¶ 3, B; See Affidavit In Support of Unpaid

Fringe Benefit Contributions and Audit Costs (Doc. # 8) at ¶2]. While the Employee Retirement

Income Security Act (“ERISA”), under which Plaintiffs sue, does not contain a specific statute of

limitations for claims such as those asserted by Plaintiffs, Federal courts have routinely held that

in a case involving an ERISA claim, the Court should apply the state statute of limitations that

fits the best. Johnson v. State Mut. Life Assur. Co. of American, 942 F.2d 1260, 1261–62 (8th

Cir. 1991). Here, all of Plaintiffs’ claims arise from alleged ERISA violations, a federal statute

that seeks to enforce a written agreement. [Complaint (Doc. 1) ¶¶ 1, 3)] In Missouri, the statute

of limitation for “an action upon liability created by a statute other than a penalty or forfeiture,”

and upon a written contract, is five years. § 516.120 RSMo. Additionally, claims asserting

statutory penalties are subject to a three year limitation. § 516.130 RSMo. As such, the claims

for ERISA violations and breach of the CBA are at best, five years, and three years for any

alleged penalties such as interest or liquidated damages.

            Even though Plaintiffs conveniently combine calendar years 2012 and 2013 to allege

and calculate their damages, at least a portion of those damages—anything preceding June 21,

2013—are not recoverable as they fall outside the five-year statute of limitations. As such, it


3
    This lawsuit was filed on June 21, 2018.


                                         7
             Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 7 of 12
appears from the face of the Complaint, and the affidavits in support of the entry of default

judgment, that Defendant has a strong legal argument that a portion of Plaintiffs’ claims are

barred by the statute of limitations, which would necessarily reduce any amounts awarded in the

default judgment for unpaid contributions, and any correlating liquidated damages and interest.

         Further, a significant portion of Plaintiff’s damage claim is for liquidated damages and

interest. Unlike Plaintiff’s underlying claim, the claims for liquidated damages or interest under

ERISA are subject to a three-year statute of limitations. § 516.130 RSMo4. As a result, all of

Plaintiffs’ claims for liquidated damages which occurred prior to 2015 are barred by the statute

of limitations.


                  Under the CBA and Subsequent Agreement, Plaintiffs Are Only Entitled to
                  Fringe Benefits for Work Performed as an “Ironworker” and Not as a
                  Laborer. However, Plaintiffs Claim Unpaid Benefits for Work as Both a
                  “Laborer” and an “Ironworker.”

         Defendant’s construction work is focused primarily on the constructing of highway signs

and guardrails. [Exhibit 4: Affidavit of Jesse Cooper at ¶ 5] Importantly, many of the individuals

who work for Defendant perform various tasks, some of which are covered by the CBA while

others are not. [Exhibit 4 a ¶ 5] As a result, in 1979, the Ironworkers Local Union 10, and the

Laborers Local Union 1290, agreed that various tasks would be considered “Ironworker” work

and others “Laborer” work. [Exhibit 4 at ¶ 6] This agreement is outlined in Exhibit 4-A.

         It is Defendant’s belief 5 that despite this agreement, Plaintiffs’ audit fails to take into

consideration that some of the hours audited were hours worked as “laborers” not as


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  Plaintiffs assert their right to liquidated damages and interest is contractual and not statutory. However, as
explained in Subsection c, that purported contractual agreement should not be binding upon defendants and, if
binding, should not be retroactive beyond 2015.
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  Defendant is still investigating and analyzing the results of Plaintiff’s audit, which will continue through the
discovery process as Defendants learn upon what information the audit relied. However, in an effort to get this
Motion on file as soon as possible, and avoid delay, Defendants assert this as a meritorious defense now because
Defendant does believe the audit erroneously included hours not properly subject to the CBA.


                                      8
          Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 8 of 12
“ironworkers.” Therefore, these hours cannot properly form the basis of any damage calculation.

This failure also affects any amount of liquidated damages or interest because such amounts are

calculated as a percentage of the purportedly unpaid benefits. See 29 U.S.C. 1132(g)(2)(C)(ii).

Additionally, the law only permits the award of interest or liquidated damages, whichever is

greater, but not both. Id. Here, Plaintiff has obtained judgment from this Court awarding it both

interest and liquidated damages—amounts which they are not entitled to under the law.

[Judgment (Doc. 13)].

       Further, to the extent Plaintiff wants to rely on the “Discussion and Resolution for

Minutes Liquidated Damages and Interest Assessments” (Doc. 8–2) to support its ability to

receive both liquidated damages and interest, that unsigned document was dated and allegedly

became effective on August 1, 2015—more than two years after the audit period. Additionally,

there is no evidence that Defendant ever assented to the terms contained within that unsigned

document. It would be improper to retroactively apply a unilateral change to the CBA against

Defendant. As a result, federal law would apply, which precludes the award of both liquidated

damages and interest.

       These factual and legal arguments demonstrate that Defendant, if permitted to defend this

matter on the merits, would likely achieve a result contrary to the default judgment. Importantly,

if an arbitrator finds that Plaintiffs did not timely submit its complaint, then Plaintiffs’ claims

could be disposed of in their entirety. Nevertheless, even if the claims are not completely

disposed of, it is almost certain that the amount of damages will be significantly different given

Plaintiffs’ erroneous accounting methods (including laborer hours as ironworker hours),

including hours outside of the statute of limitations period, miscalculating liquidated damages,

and doubling its damages with interest and liquidated damage.




                                     9
         Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 9 of 12
       3. No prejudice will result from the Court setting aside the default judgment.

       Plaintiffs will suffer no prejudice if the default judgment is set aside and Defendant is

permitted to file its responsive pleading. “Setting aside a default must prejudice plaintiff in a []

concrete way, such as loss of evidence, increased difficulties in discovery, or greater

opportunities for fraud and collusion.” Johnson v. Dayton Elec. Mfg. Co., 140 F.3d 781, 785 (8th

Cir. 1998) (internal quotations and citations omitted).

       Here, it has been approximately one month since the Court has entered default judgment.

And, as indicated above, since even before that time the parties were engaging in settlement

negotiations with Defendant’s previous counsel under the belief that this matter was stayed. As a

result, nothing will be lost by setting aside the default judgment. The parties can continue to

engage in good-faith settlement negotiations and, if necessary, the parties can litigate the issues

on the merits. And, because the delay has been de minimus, there will be no significant impact on

a discovery timeline or on the availability of evidence. In fact, the evidence Plaintiff apparently

relies upon is already in Plaintiff’s possession—its own audit reports. Notably, “prejudice may

not be found from delay alone or from the fact that the defaulting party will be permitted to

defend on the merits.” Id.


III.   CONCLUSION

       Defendant’s prior attorney reasonably believed this matter had been stayed while

Plaintiff’s counsel and he engaged in good-faith settlement negotiations. As a result, Defendant

did not obtain additional counsel licensed in this jurisdiction to file an answer or other responsive

pleading. Further, Defendants have multiple meritorious defenses that could reduce or eliminate

its liability. Finally, no prejudice will inure to Plaintiffs simply by having to prosecute this

matter on the merits.



                                     10
        Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 10 of 12
       WHEREFORE, Defendant Fulsom Brothers, Inc. respectfully requests that this Court

set aside the Clerk’s Entry of Default (Doc. 9), the Default Judgment (Doc. 12) and the Judgment

in Civil Action (Doc. 13) and permit Defendant 14 days from the date of the order in which to

file its answer or other responsive pleading.



                                                Respectfully submitted,

                                                ENSZ & JESTER, P.C.



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                                     11
        Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 11 of 12
                               CERTIFICATE OF SERVICE

        I hereby certify that, on October 5, 2018, the above and foregoing was electronically filed
with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
all counsel of record.

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                                     12
        Case 4:18-cv-00482-GAF Document 14 Filed 10/05/18 Page 12 of 12
